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12
      FOLLOWING PAGE]
13
                           UNITED STATES DISTRICT COURT
14
                         CENTRAL DISTRICT OF CALIFORNIA
15

16

17    James Shayler, an individual,            Case No.: 2:20-cv-01882-RAO
18
                   Plaintiff,                  Hon. Rozella A. Oliver
19
            v.                                 JOINT STATUS REPORT
20
                                               REGARDING REMEDIATION
21    Ehab S. Yacoub, an Individual;
22    Lorine A. Mikhaeil, an Individual; and
      Does 1-10,
23

24
                   Defendants.

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                                           1        Case No. 2:20-cv-01882-RAO
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      EHAB S. YACOUB AND LORINE A. MIKHAEIL
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1           Pursuant to the Court’s Order entered on February 4, 2022 (ECF No. 101),
2
      the parties hereby file a joint status report on the status of remediation.
3

4           Plaintiff’s Position
5
            Plaintiff’s investigator visited the property on February 6, 2022 to assess the
6

7
      status of the remediation after the Court issued the above Order (ECF No. 101).

8     The remediation ordered by this Honorable Court has not been completed as
9
      required by the Court’s Order granting Plaintiff’s Motion for Summary Judgment
10

11    (ECF No. 81). For ease of navigation, Plaintiff will address each item in the Order
12
      listed on page 8:
13

14
            1. Tow-away sign. Finding 1; FAC at 6-7. The sign posted still does not

15              contain the required tow company name and telephone number.
16

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26
            2. Accessible parking stall/access aisle markings. Finding 3; FAC at 7-9.
27

28              Plaintiff does not dispute that this has been re-painted.


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1           3. “No Parking” surface sign in access aisle. Finding 4; FAC at 9.
2
               Plaintiff does not dispute that this has been re-painted.
3

4           4. ISA surface sign in accessible parking stall. Finding 5; FAC at 10.
5
               Plaintiff does not dispute that this has been re-painted.
6

7
               6. Length of accessible parking stall and access aisle. Finding 6;

8                 FAC at 8. The access aisle remains less than the required eighteen
9
                  feet (18') long, instead only measuring fifteen feet (15') long (180
10

11                inches).
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                                          4        Case No. 2:20-cv-01882-RAO
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              7. Cross-slope within parking lot. Finding 7; FAC at 17-18. Slopes in
17

18               excess of the two percent (2%) limit remain in the parking area,
19               including slopes as high as 5.8 percent (5.8%).
20

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                                         5        Case No. 2:20-cv-01882-RAO
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1             8. Rear entrance floor mat unsecured. Finding 10; FAC at 20-21.
2
                 The rear entrance mat remains unsecured.
3

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14            10. Front entrance threshold. Finding 16; FAC at 21. The front door
15
                 threshold remains in excess of one-half inch (1/2").
16

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27            11. Front entrance door clearing. Finding 17; FAC at 22. The front
28
                 door clearing does not measure thirty-two inches (32") between the

                                         6        Case No. 2:20-cv-01882-RAO
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1                face of the door and the stop; instead, it measures twenty-nine inches
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                 (29").
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21            12. Lack of accessible table in outdoor dining area. Finding 20; FAC
22
                 at 14-15. The dining tables remain unchanged.
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                                         7        Case No. 2:20-cv-01882-RAO
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1             13. Counter height. Findings 22-24; FAC at 14. The sales counter
2
                 remains above the thirty-four inch (34") maximum and instead
3

4                measures forty-two inches (42") off the finish floor. The beverage
5
                 counter was noted to be out of service but still exceeded the maximum
6

7
                 reach of forty-eight inches (48"), instead measuring fifty inches (50").

8                The wall seating still does not provide a compliant low seating space
9
                 at thirty-four inches (34") high, and instead measures forty-four
10

11               inches (44") high.
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                                         8        Case No. 2:20-cv-01882-RAO
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                                         9        Case No. 2:20-cv-01882-RAO
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               14. Bathroom door signage. Findings 25-26; FAC at 15. Compliant
17

18                restroom signage has not been installed.
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                                          10       Case No. 2:20-cv-01882-RAO
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1              15. Accessible lavatory violations. Findings 27-31; FAC at 15-17. The
2
                  rim of the urinal remains in excess of the maximum allowable height
3

4                 of thirteen and one-half inches (13-1/2"), and instead measures over
5
                  seventeen inches (17"). The toilet seat cover remains behind the toilet,
6

7
                  and thus is not on an accessible route. The side and rear grab bars are

8                 still located more than thirty-six inches (36") off of the finish floor.
9
                  The water lines under the lavatory (sink) have not been insulated. The
10

11                bottom edge of the reflecting surface of the mirror exceeds the
12
                  maximum of forty inches (40") off the finish floor.
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1           Defendants’ Position
2
            Plaintiff contends that on February 6, 2022 an unidentified inspector
3

4     inspected the property and made the conclusion that there are still violations the
5
      property.
6

7
            There has not been a notice to the Defendants that anyone from Plaintiff’s

8     side will be visiting the property nor anyone has inspected the proprety. There are
9
      no time stamps on any of the pictures and these are at best the same pictures of the
10

11    original inspection. Defendants contends these pictures are inaccurate and requests
12
      from the Court the request to have a declaration from the so-called investigators
13

14
      shows identity of the individual the timeline of these pictures. The veracity and

15    accuracy of said pictures are contested by these defendants.
16
            The inspection pictures are all from the inside of a business that was not
17

18    even named in the lawsuit.
19
            As Defendants clearly presented in their motion to vacate the judgment the
20

21
      plaintiff in this case is a scam artist. The pictures clearly show that he is not even

22    handicapped and goes on random business and set them up.
23
            Defendants showed by way of a declarations by their experts that the alleged
24

25    violations that can be fixed where fixed. There were violations in areas that were
26
      not in control of the Defendant and rather in control of the city.
27

28
            As a Senior Architect in the Sacramento regional office Mr.Yassa who was


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1     retained by Defendants oversaw the plan check operations and access compliance
2
      with the State of California Building Code and the American with Disabilities Act.
3

4     Based upon his recommendations in response to the with a list of violations the
5
      Plaintiff in this action complains of following corrections were made and
6

7
      completed:

8            These are all items contended by the plaintiff in their second motion for
9
      summary judgment and corrected by Defendants:
10

11               1. The Tow-Away Sign
12

13

14
      Only one sign was relocated where it is now be visible to the accessible car driver,

15    versus within the city alley as previously posted.
16
                 2. The access aisle is not located on an accessible route of travel to the
17

18    accessible building entrance.
19
      The building now provides accessible logos on all nonassessable entrances with
20

21
      directional arrows.

22               3. The accessible route of travel between the building and the public
23
      way on the site contains cross areas that are unsafe to the proximity of vehicle
24

25    traffic.
26
      This particular complaint of the Plaintiff is directed towards the Defendants were
27

28
      the actual owner of the property is Culver City.


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1           4.       The accessible parking sign is not located correctly.
2
      As with the other sign, this one is also located in a one-way only alley owned by
3

4     the city. I have relocated the sign where it will be visible to the accessible car
5
      drivers.
6

7
            5.       The accessible parking stall is not long enough

8     While it is difficult to determine the exact length of the parking stall the minor
9
      defect in its length was cured when the parking stall was repainted.
10

11          6.       The cross slope (narrow dimension) of the parking stall exceeds
12
      2%
13

14
      Based upon the measurement with a water level and determined the slope was

15    2.03% which is a minor construction error, and which does not represent any safety
16
      or hazard as advised by Mr. Yassa.
17

18               7. The running slope (long dimension) of the accessible parking stall
19
      exceeds 2%
20

21
      Based upon the measurement with a water level and determined the slope was

22    2.03% which is a minor construction error, and which does not represent any safety
23
      or hazard as advised by Mr. Yassa.
24

25

26
            8.       The accessible parking space is missing the ISA
27

28
      The ISA symbol existed but was extremely faded, a The ISA symbol was corrected


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1     during the process of the stall(s) being painted,
2
            9.      The striping and markings for the accessible parking stall,
3

4     loading/unloading access aisle is dilapidated and in need of repair and/or
5
      maintenance.
6

7
      Per inspection of Mr. Yassa, the Plaintiff does not distinguish what is city-owned

8     versus owned by me, as they do not distinguish between the door threshold in the
9
      edge of the parking stall. Per inspection of Mr. Yassa, many of the concerns
10

11    pointed out by Plaintiff actually lie with Culver City.
12
                  9. The loading/unloading access aisle does not contain the words
13

14
      “NO PARKING” with a minimum of 12-inch white letters.

15    The words “NO PARKING” was addressed by a new coat of paint.
16
            11.     The cross slope (short dimension) of the access aisle exceeds 2%
17

18    Based upon the measurement with a water level and determined the slope was
19
      2.03% which is a minor construction error, and which does not represent any safety
20

21
      or hazard as advised by Mr. Yassa.

22          12.     The access aisle is not a minimum 8 feet wide
23
      Per Mr. Yassa inspection, there was no obstruction on either side and the ADA
24

25    allows fractional construction errors on all dimensions.
26
            13.     The access aisle contains of rough edges and surface irregularities
27

28
                    over ¼ inch.


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1     Per inspection of Mr. Yassa, many of the concerns pointed out by Plaintiff actually
2
      lie with Culver City. The accessible route of travel that crosses or adjoins the
3

4     vehicular way and they walking service is not separated by curbs, railings, or
5
      other elements between pedestrian areas and the vehicular areas.
6

7
            14.    The access aisle is not located on an accessible route of travel to

8     the accessible building entrance.
9
      This is a commercial structure built in the 50s with parking permitted in the rear of
10

11    the building and prohibited in the front. The route from the parking which is
12
      provided to the front entrance of the building must, by design, traverse and alley
13

14
      owned by Culver City

15          15.    The access aisle is located so that a person with a disability is
16
      compelled to wield or walk behind parking spaces other than their own
17

18    accessible parking space.
19
      After a thorough inspection of the site, he was unable to locate any area on or near
20

21
      the site where this particular complaint, made by Plaintiff, would be applicable.

22          16.    The accessible route of travel between the building and the public
23
      way on the site contains cross areas that are unsafe due to the proximity to
24

25    vehicle traffic.
26
      Per Mr. Yassa Inspection and title records, this is a commercial structure built in
27

28
      the 50s with parking permitted in the rear of the building and prohibited in the


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1     front. The route from the parking which is provided to the front entrance of the
2
      building must, by design, traverse and alley owned by Culver City.
3

4           17.    The accessible path of travel between the building entrance and
5
      the accessible parking contains cross slopes greater than 2%
6

7
      A vast majority of the route from the parking which is provided to the front

8     entrance of the building is comprised on City property and is not under the control
9
      or dominion of the Defendant and it will represent unreasonable hardship.
10

11          18.    The landings at the entrance doors exceed 2% slope
12
      The area referred to here is the street sidewalk and the Defendant must respect the
13

14
      City’s finish grade and therefore cannot make any corrections or adjustments.

15          19.    The walkway contains abrupt vertical edges and or variations
16
      over ¼ inch.
17

18    Once again, the area referred to as the street sidewalk belonging to Culver City.
19
      Any corrections that can be made to this interface would have to be through or
20

21
      come from Culver City.

22          20.    The clear floor space required at the patio/outdoor seating tables
23
      has slopes exceeding six percent (6%).
24

25    The area referenced here is the street sidewalk and the Defendant must respect the
26
      City’s finish grate and therefore cannot make any corrections or adjustments.
27

28
            21.    The toilet seat cover dispenser is not on an accessible route with a


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1     dispenser a maximum of forty inches (40”) above the floor, instead it is
2
      mounted over the rear grab bar.
3

4     The toilet seat dispenser has been moved to an accessible route and is forty inches
5
      (40”) above the floor.
6

7
            22.    The water lines under the lavatory (sink) are not adequately

8     insulated
9
      The water lines have been properly insulated
10

11          23.    The reflecting surface of the restroom mirror is positioned more
12
      than forty inches (40”) above the floor.
13

14
      The mirror has been relocated so that the reflecting service is forty inches above

15    the floor.
16
            24.    The grab bar on the wall behind the toilet is positioned more than
17

18    thirty-three inches (33”) above the floor.
19
      The grab bar on the wall behind the toilet has been repositioned so that it is thirty-
20

21
      three inches (33”) above the floor.

22          25.    The unisex geometric sign for the restroom is missing.
23
      A unisex geometric sign for the restroom has been installed.
24

25          26.    The mats inside and outside of the Fresh Pita Organic Express
26
      restaurant/eatery are not secured, which can easily cause buckling and
27

28
      rolling.


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1     The mats inside the restaurant have been secured
2
            27.     The required tactile exit signs are missing from the front and rear
3

4     exit doors.
5
      Required tactile exit signs have been placed at the front and rear exit doors.
6

7
            28.     Defendants have previously provided GIS map from Culver

8     City showing the access aisles travels across property controlled by Culver City.
9
            29.     Multiple pictures were accompanied with Defendants’ opposition to
10

11    second summary judgement that would verify a number of the corrections.
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1     Dated: February 9, 2022           THE LAW OFFICE OF HAKIMI & SHAHRIARI
2

3

4                                       By:     /s/ Anoush Hakimi
5                                             Anoush Hakimi, Esq.
                                              Attorneys for Plaintiff, James Shayler
6

7     Dated: February 9, 2022           KMB LAW GROUP, INC.
8

9

10                                      By:    /s/ Kevin M. Badkoubehi
11
                                              Kevin M. Badkoubehi, Esq.
                                              Attorneys for Defendants,
12                                            Ehab S. Yacoub and Lorine A. Mikhaeil
13
                               SIGNATURE ATTESTATION
14

15    I, Anoush Hakimi, attest that all other signatories listed, and on whose behalf the
      filing is submitted, concur in the filing’s content and have authorized the filing.
16

17

18
                                              /s/ Anoush Hakimi
                                              ANOUSH HAKIMI
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